                  UNITED STATES BANKRUPTCY COURT
                  MIDDLE DISTRICT OF PENNSYLVANIA
 Re: Ronald Lynn Morrison
                                                            Case No.: 1-19-00692HWV

                                                            Chapter 13
                      Debtor(s)

                            NOTICE OF FINAL CURE PAYMENT

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to
cure the pre-petition and post-petition default in the claim below has been paid in full and the
debtor(s) have completed all payments under the plan.

 PART 1: MORTGAGE INFORMATION
 Creditor Name:                  Pennymac
 Court Claim Number:             17
 Last Four of Loan Number:       5199
 Property Address if applicable: 1716 N 3rd St

 PART 2: CURE AMOUNT
 Total cure disbursement made by the trustee:
 a.      Allowed prepetition arrearages:                                     $2,366.39
 b.      Prepetition arrearages paid by the trustee:                         $2,366.39
 c.      Amount of postpetition fees, expenses, and charges                  $0.00
         recoverable under Bankruptcy Rule 3002.1(c):
 d.      Amount of postpetition fees, expenses, and charges                  $0.00
         recoverable under Bankruptcy Rule 3002.1(c) and paid
         by the trustee:
 e.       Allowed postpetition arrearage:                                    $0.00
 f.       Postpetition arrearage paid by the trustee:                        $0.00
 g.       Total b, d, and f:                                                 $2,366.39

 PART 3: POSTPETITION MORTGAGE PAYMENT
 Mortgage is/was paid directly by the debtor(s).
PART 4: A RESPONSE IS REQUIRED BY BANKRUPTCY RULE 3002.1(g)
Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their
counsel, and the trustee, within 21 days after service of this notice, a statement indicating
whether the creditor agrees that the debtor(s) have paid in full the amount required to cure the
default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs
and escrow amounts due, and (ii) consistent with §1322(b)(5) of the Bankruptcy Code, are
current on all postpetition payments as of the date of the response. Failure to file and serve the
statement may subject creditor to further action of the court, including possible sanctions.




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To assist in reconciling the claim, a history of payments made by the trustee is attached to copies
of this notice sent to the debtor(s) and the creditor.


Dated: October 25, 2023
                                                       Respectfully submitted,


                                                       /s/ Jack N. Zaharopoulos
                                                       Standing Chapter 13 Trustee
                                                       Suite A, 8125 Adams Drive
                                                       Hummelstown, PA 17036
                                                       Phone: (717) 566-6097
                                                       Fax: (717) 566-8313
                                                       email: info@pamd13trustee.com




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                        UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


Re: Ronald Lynn Morrison
                                                            Case No.: 1-19-00692HWV

                                                            Chapter 13
                     Debtor(s)

                                 CERTIFICATE OF SERVICE


I certify that I am more than 18 years of age and that on October 25, 2023 I served a copy of this
Notice of Final Cure Payment on the following parties by 1st Class mail from Hummelstown, PA,
unless served electronically.

  Served Electronically
  Kara K. Gendron, Esquire
  Mott & Gendron Law
  125 State St
  Harrisburg PA 17101


  Served by First Class Mail
  PennyMac Loan Servicing, Inc
  6101 Condor Dr
  Suite 200
  Moorpark CA 93021


  Ronald Lynn Morrison
  1716 N 3rd St
  Harrisburg PA 17102


  I certify under penalty of perjury that the foregoing is true and correct.


  Date: October 25, 2023                                /s/ Liz Joyce
                                                        Office of the Standing Chapter 13 Trustee
                                                        Jack N. Zaharopoulos
                                                        Suite A, 8125 Adams Dr.
                                                        Hummelstown, PA 17036
                                                        Phone: (717) 566-6097
                                                        email: info@pamd13trustee.com




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                                               Disbursements for Claim
Case: 19-00692          RONALD LYNN MORRISON
         PENNYMAC LOAN SERVICES, LLC
                                                                                     Sequence: 13
                                                                                        Modify:
         P.O. BOX 660929
                                                                                    Filed Date:
         DALLAS, TX 75266-0929
                                                                                    Hold Code:
 Acct No: 5199
         ARREARS - 1716 N 3RD ST


                                                 Debt:            $2,366.39      Interest Paid:              $0.00
        Amt Sched:              $136,187.00                                        Accrued Int:               $0.00
         Amt Due:       $0.00                     Paid:           $2,366.39       Balance Due:                $0.00

Claim name                             Type       Date            Check #     Principal    Interest       Total Reconciled
                                                                                                DisbDescrp
 5200        PENNYMAC LOAN SERVICES, LLC
520-0 PENNYMAC LOAN SERVICES, LLC               01/16/2020        1212666      $414.06       $0.00     $414.06 02/10/2020


520-0 PENNYMAC LOAN SERVICES, LLC               12/12/2019        1211304      $890.07       $0.00     $890.07 12/26/2019


520-0 PENNYMAC LOAN SERVICES, LLC               11/07/2019        1209936      $593.38       $0.00     $593.38 11/26/2019


520-0 PENNYMAC LOAN SERVICES, LLC               10/10/2019        1208789      $310.05       $0.00     $310.05 11/05/2019


520-0 PENNYMAC LOAN SERVICES, LLC               09/26/2019        1207669      $158.83       $0.00     $158.83 10/29/2019


                                                                Sub-totals: $2,366.39        $0.00   $2,366.39

                                                              Grand Total: $2,366.39         $0.00




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